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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

                                                   )
STEVES AND SONS, INC.,                             )
                                                   )
                       Plaintiff,                  )
                                                   )      Civil Action No. 3:20-cv-000098
v.                                                 )
                                                   )
JELD-WEN, INC.,                                    )
                                                   )
                       Defendant.                  )
                                                   )

                         NOTICE OF FILING A MOTION TO SEAL

       Steves and Sons, Inc., pursuant to Rule 5 of the Local Civil Rules, provides public notice

that it has today filed a motion to seal its Letter Regarding Discovery Disputes, as well as Exhibit

1 appended thereto.

       All parties and non-parties are hereby notified that they may submit memoranda in

support of or in opposition to the motion within seven days, and that they may designate all or

part of such exhibit as confidential.


Dated: May 24, 2020

                                              Respectfully submitted,

                                              STEVES AND SONS, INC.

                                              By:    /s/Lewis F. Powell III
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 24, 2020, I caused a copy of the foregoing to be

electronically filed using the CM/ECF system, which will send notification to counsel of record

of such filing by operation of the Court’s electronic system. Parties may access this filing via the

Court’s electronic system.


                                              By /s/Lewis F. Powell III
                                                    Lewis F. Powell III




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